Case: 5:06-cv-00243-JMH-REW Doc #: 476 Filed: 06/14/10 Page: 1 of 14 - Page ID#:
                                    6867


                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF KENTUCKY
                            CENTRAL DIVISION AT LEXINGTON


IN RE CLASSICSTAR MARE                                       )                MDL NO. 1877
LEASE LITIGATION                                             )
                                                             )                MASTER FILE:
and                                                          )                5:07-CV-353-JMH
                                                             )
WEST HILL FARMS, ET AL.,                                     )                5:06-CV-243


                            GASTAR EXPLORATION LTD.’S
                         MOTION FOR SUMMARY JUDGMENT
                    ON PLAINTIFF NELSON BREEDERS, LLC’S CLAIMS

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

        Defendant Gastar Exploration Ltd. (“Gastar Exploration”) moves this Court pursuant to

Rule 56, FED. R. CIV. P., as follows:

                                    PRELIMINARY STATEMENT

        In its Fourth Amended Complaint (the “Complaint”), Plaintiff Nelson Breeders, LLC

(“Plaintiff”) has asserted twelve claims against Gastar Exploration. Gastar Exploration has

previously moved to dismiss these claims under Rule 12, FED. R. CIV. P., for want of personal

and subject matter jurisdiction and for failure to state a claim. This motion is filed subject to and

without waiver of Gastar Exploration’s Rule 12 motions.

        The claims against Gastar Exploration contained in the Complaint and the basis for

dismissal of these claims are as follows:1

                                              Count 1—RICO

        1.       Plaintiff does not state a claim for, and there is no evidence to support, a Section

1962(a) claim against Gastar Exploration.
        1
              Counts 4, 11, and 15 - 27 have not been asserted against Gastar Exploration. Therefore, they are not
discussed in this Motion for Summary Judgment or in the supporting memorandum.
Case: 5:06-cv-00243-JMH-REW Doc #: 476 Filed: 06/14/10 Page: 2 of 14 - Page ID#:
                                    6868


            a)     There is no evidence to show that Gastar Exploration participated as a principal

                   in the alleged pattern of racketeering activity.

            b)     Plaintiff has not pled, and there is no evidence to show, that Gastar Exploration

                   used or invested any income from a pattern of racketeering activity into the

                   acquisition, establishment, or operation of an enterprise.

            c)     There is no evidence to show that Plaintiff suffered injury specifically as a

                   result of Gastar Exploration’s investment of racketeering income into the

                   acquisition, establishment, or operation of an enterprise.

       2.        Plaintiff does not state a claim for, and there is no evidence to support, a Section

1962(c) claim against Gastar Exploration.

            a)     Plaintiff has not pled, and there is no evidence to show, that Gastar Exploration

                   conducted the affairs of an enterprise.

            b)     Plaintiff has not pled, and there is no evidence to show, that Gastar Exploration

                   committed any predicate act, and as such, it cannot show that Gastar

                   Exploration participated in the conduct of the affairs of an enterprise through a

                   pattern of racketeering activity.

       3.        Plaintiff does not state a claim for, and there is no evidence to support, a Section

1962(d) claim against Gastar Exploration for conspiracy to violate Section 1962(a) or (c).

            a)     There is no evidence sufficient to support the inference that Gastar Exploration

                   agreed to the objectives of a RICO conspiracy.

            b)     There is no evidence sufficient to support the inference that Gastar Exploration

                   agreed to the commission of predicate acts.




                                                   2
Case: 5:06-cv-00243-JMH-REW Doc #: 476 Filed: 06/14/10 Page: 3 of 14 - Page ID#:
                                    6869


            c)     There is no evidence sufficient to support the inference that Gastar Exploration

                   agreed to the investment of racketeering income into the acquisition,

                   establishment, or operation of an enterprise.

            d)     There is no evidence sufficient to support the inference that Gastar Exploration

                   agreed to the operation or management of an enterprise through a pattern of

                   racketeering activity.

            e)     There is no direct or circumstantial evidence sufficient to support the inference

                   that Gastar Exploration conspired with respect to ClassicStar or the Plaintiff.

            f)     There is no evidence sufficient to support the inference that any of Gastar

                   Exploration’s actual conduct, such as the issuance of stock to its own investors

                   in return for investment, was the result of a conspiracy rather than legitimate

                   conduct.

            g)     There is no evidence that Plaintiff’s injuries arise out of any alleged conspiracy

                   to which Gastar Exploration was purportedly a party.

       4.        To the extent that Plaintiff demonstrates that one or more of Gastar Exploration’s

former shareholders or officers violated RICO or conspired to violate RICO, there is no evidence

sufficient to show that Gastar Exploration should be liable for such alleged conduct.

            a)     There is no evidence to show that the alleged conduct, including without

                   limitation participation in any conspiracy, was within the course and scope of

                   any former agency relationship the officer may have had with Gastar

                   Exploration.

            b)     To the extent that Plaintiff identifies some conduct committed by a former

                   officer that was within the course and scope of that person’s agency for Gastar




                                                  3
Case: 5:06-cv-00243-JMH-REW Doc #: 476 Filed: 06/14/10 Page: 4 of 14 - Page ID#:
                                    6870


                    Exploration, there is no evidence that such conduct (as differentiated from such

                    person’s conduct outside the scope of the agency) was the proximate cause of

                    Plaintiff’s injuries.

        5.        Because Plaintiff claims to have been injured as a result of its participation in a

scheme to acquire investment assets (including horses, working interests, and/or Gastar

Exploration shares) through allegedly tax-advantaged means provided by the ClassicStar Mare

Lease Program, Plaintiff is in pari delicto by virtue of its knowing participation in a scheme to

defraud the Government of tax revenues, and therefore, its recovery under RICO is barred as a

matter of law.

        6.        The evidence conclusively demonstrates that Plaintiff’s RICO claims are barred

by limitations.

                                    Count 2—Common Law Fraud

        7.        Plaintiff does not state a claim for, and there is no evidence to support, a common

law fraud claim against Gastar Exploration.

        8.        There is no evidence that Gastar Exploration made any misrepresentation or failed

to disclose any material facts to Plaintiff.      Additionally and in the alternative, the evidence

indicates that the misrepresentations and omissions identified by Plaintiff in the Complaint were

made by others.

        9.        There is no evidence that Gastar Exploration owed any duty of disclosure to

Plaintiff.

        10.       There is no evidence that Plaintiff justifiably or reasonably relied on any

misrepresentation or omission by Gastar Exploration. Additionally and in the alternative, the




                                                   4
Case: 5:06-cv-00243-JMH-REW Doc #: 476 Filed: 06/14/10 Page: 5 of 14 - Page ID#:
                                    6871


Plaintiff’s contractual agreements conclusively demonstrate that Plaintiff did not justifiably or

reasonably rely on any misrepresentation or omission by Gastar Exploration.

       11.     The evidence conclusively demonstrates that Plaintiff did not justifiably or

reasonably rely on any alleged misrepresentation or omission relating to the tax treatment of its

purported investments. Additionally and in the alternative, there is no evidence that Plaintiff

justifiably or reasonably relied on any alleged misrepresentation or omission relating to the tax

treatment of its purported investments.

       12.     The evidence conclusively demonstrates that Plaintiff’s common law fraud claim

is barred by limitations.

                            Count 3—Negligent Misrepresentation

       13.     Plaintiff does not state a claim for, and there is no evidence to support, a negligent

misrepresentation claim against Gastar Exploration.

       14.     There is no evidence that Gastar Exploration made any misrepresentation to

Plaintiff. Additionally and in the alternative, the evidence indicates that the misrepresentations

identified by Plaintiff in the Complaint were made by others.

       15.     There is no evidence that Plaintiff justifiably or reasonably relied on any

misrepresentation by Gastar Exploration. Additionally and in the alternative, the Plaintiff’s

contractual agreements conclusively demonstrate that Plaintiff did not justifiably or reasonably

rely on any misrepresentation by Gastar Exploration.

       16.     The evidence conclusively demonstrates that Plaintiff did not justifiably or

reasonably rely on any alleged misrepresentations relating to the tax treatment of its purported

investments. Additionally and in the alternative, there is no evidence that Plaintiff justifiably or




                                                 5
Case: 5:06-cv-00243-JMH-REW Doc #: 476 Filed: 06/14/10 Page: 6 of 14 - Page ID#:
                                    6872


reasonably relied on any alleged misrepresentation relating to the tax treatment of its purported

investments.

                                   Count 5—Theft by Deception

        17.     Plaintiff does not state a claim for, and there is no evidence to support, a theft by

deception claim against Gastar Exploration.

        18.     There is no evidence that Gastar Exploration received any money or property,

either directly or indirectly, from Plaintiff.

        19.     The evidence conclusively demonstrates that, under Kentucky law, Plaintiff’s

theft by deception claim is barred by the doctrine of unclean hands.

                                   Count 6—Unjust Enrichment

        20.     Plaintiff does not state a claim for, and there is no evidence to support, an unjust

enrichment claim against Gastar Exploration.

        21.     There is no evidence that Gastar Exploration received any money or property,

either directly or indirectly, from Plaintiff.

        22.     The evidence conclusively demonstrates that, under Kentucky law, Plaintiff’s

unjust enrichment claim is barred by the doctrine of unclean hands.

                                        Count 7—Conspiracy

        23.     There is no evidence to support the imposition of liability against Gastar

Exploration under a conspiracy theory of liability.

        24.     Kentucky law does not provide for a separate cause of action for conspiracy. As

pled by Plaintiff, its conspiracy theory of liability is contingent upon the merits of its common

law fraud claim. Such claim fails for the reasons stated above as to Count 2.




                                                  6
Case: 5:06-cv-00243-JMH-REW Doc #: 476 Filed: 06/14/10 Page: 7 of 14 - Page ID#:
                                    6873


                                 Count 8—Aiding and Abetting

       25.     There is no evidence to support the imposition of liability against Gastar

Exploration under an aiding and abetting theory of liability.

       26.     Kentucky law does not provide for a separate cause of action for aiding and

abetting. As pled by Plaintiff, its aiding and abetting theory of liability is contingent upon the

merits of its common law fraud claim. Such claim fails for the reasons stated above as to Count

2.

                                        Count 9—Agency

       27.     There is no evidence to support the imposition of liability against Gastar

Exploration under an agency theory of liability.

       28.     There is no evidence that Gastar Exploration manifested an intent that any of the

other defendants act on its behalf with respect to the promotion and sale of the ClassicStar Mare

Lease Program.

       29.     There is no evidence that any of the other defendants consented to act on behalf of

Gastar Exploration with respect to the promotion and sale of the ClassicStar Mare Lease

Program.

       30.     There is no evidence that Gastar Exploration induced Plaintiff’s belief that any of

the other defendants acted on behalf of Gastar Exploration with respect to the promotion and sale

of the ClassicStar Mare Lease Program.

       31.     The Plaintiff’s contractual agreements conclusively demonstrate that Plaintiff did

not believe it had entered into any agreements with Gastar Exploration related to the ClassicStar

Mare Lease Program or any of the alternative investments promoted by ClassicStar.




                                                   7
Case: 5:06-cv-00243-JMH-REW Doc #: 476 Filed: 06/14/10 Page: 8 of 14 - Page ID#:
                                    6874


                               Count 10–-Money Had and Received

        32.     Plaintiff does not state a claim for, and there is no evidence to support, a money

had and received claim against Gastar Exploration.

        33.     There is no evidence that Gastar Exploration received any money or property,

either directly or indirectly, from Plaintiff.

        34.     The evidence conclusively demonstrates that, under Kentucky law, Plaintiff’s

money had and received claim is barred by the doctrine of unclean hands.

                                   Count 12—Constructive Trust

        35.     Plaintiff does not state a claim for, and there is no evidence to support, a

constructive trust claim against Gastar Exploration.

        36.     There is no evidence that Gastar Exploration received any money or property,

either directly or indirectly, from Plaintiff.

        37.     The evidence conclusively demonstrates that, under Kentucky law, Plaintiff’s

constructive trust claim is barred by the doctrine of unclean hands.

                               Count 13—Alter Ego/Instrumentality

        38.     There is no evidence to support the imposition of liability against Gastar

Exploration under an alter ego or instrumentality theory of liability.

        39.     The theory of “reverse-piercing” the corporate veil, pled by Plaintiff, is not

recognized under Kentucky law.

        40.     There is no evidence that Gastar Exploration was operated as the alter ego or

instrumentality of GeoStar Corporation.          Additionally and in the alternative, the evidence

conclusively demonstrates that Gastar Exploration was a separate corporate entity that

represented itself as independent, was adequately capitalized, prepared financial statements that




                                                   8
Case: 5:06-cv-00243-JMH-REW Doc #: 476 Filed: 06/14/10 Page: 9 of 14 - Page ID#:
                                    6875


were audited by independent public auditors, nominated and elected directors, and had financial

results and debt ratios that were typical of independent entities.

        41.     There is no evidence that the failure to impose the liability of GeoStar

Corporation on Gastar Exploration would sanction a fraud or promote injustice.

        42.     The evidence conclusively demonstrates that, under Kentucky law, Plaintiff’s

alter ego and instrumentality theories of liability are barred by the doctrine of unclean hands.

                                  Count 14—Fraudulent Transfer

        43.     Plaintiff does not state a claim for, and there is no evidence to support, a

constructive trust claim against Gastar Exploration.

        44.     There is no evidence that Gastar Exploration received any money or property,

either directly or indirectly, from Plaintiff.

        45.     The evidence conclusively demonstrates that, under Kentucky law, Plaintiff’s

fraudulent transfer claim is barred by the doctrine of unclean hands.

                                  CONCLUSION AND PRAYER

        46.     Contemporaneously herewith, Gastar Exploration files under seal two memoranda

in support of its motion for summary judgment; the first being an omnibus memorandum

addressing the RICO claims by all applicable Track I plaintiffs, and the second addressing the

remaining counts asserted by Plaintiff against Gastar Exploration.                Gastar Exploration

additionally files an omnibus appendix of summary judgment evidence in support of all its

motions for summary judgment against the applicable Track I plaintiffs. Said memoranda and

supporting evidence are incorporated by reference as if fully set forth herein.

        WHEREFORE, Gastar Exploration respectfully requests that this Honorable Court grant

it the following relief:




                                                  9
Case: 5:06-cv-00243-JMH-REW Doc #: 476 Filed: 06/14/10 Page: 10 of 14 - Page ID#:
                                    6876


          a.         Grant Gastar Exploration’s previously-filed motion to dismiss the RICO

                     and State Law Claims for lack of personal jurisdiction.

          b.         Additionally and in the alternative, grant Gastar Exploration’s previously-

                     filed motion to dismiss the State Law Claims for lack of subject matter

                     jurisdiction.

          c.         Additionally and in the alternative, grant Gastar Exploration’s previously-

                     filed motion to dismiss the RICO and State Law Claims for failure to state

                     a claim on which relief can be granted.

          d.         Additionally and in the alternative, grant Gastar Exploration judgment as a

                     matter of law on each of Plaintiff’s claims for the reasons described

                     herein, and order that Plaintiff take nothing on its claims against Gastar

                     Exploration.

          A form of order is attached.




                                              10
Case: 5:06-cv-00243-JMH-REW Doc #: 476 Filed: 06/14/10 Page: 11 of 14 - Page ID#:
                                    6877




                                              Respectfully Submitted,


                                              /s/ Jason M. Powers
                                              John W. Hays
                                              Elizabeth E. Nicholas
                                              JACKSON KELLY PLLC
                                              175 E. Main Street, Suite 500
                                              Lexington, KY 40507
                                              Telephone: 859-288-2843
                                              Facsimile: 859-288-2849

                                              James D. Thompson, III, pro hac vice
                                              Phillip B. Dye, Jr., pro hac vice
                                              Jason M. Powers, pro hac vice
                                              VINSON & ELKINS LLP
                                              1001 Fannin St., Suite 2500
                                              Houston, Texas
                                              Telephone: (713)758-2222
                                              Facsimile: (713)758-2346

                                              Attorneys for Defendant
                                              Gastar Exploration Ltd.


                                  CERTIFICATE OF SERVICE

         This is to certify that on June 14, 2010, I electronically filed the foregoing with the Clerk
 of the Court by using the CM/ECF system, which will send a Notice of Electronic Filing to the
 following:

        Simona Alessandra Agnolucci sagnolucci@howardrice.com
        Jason Trent Ams jta@gdm.com
        Timothy S. Arnold timarn@bkf-law.com; termie@bkf-law.com
        Jennifer Cave Artiss jca2@gdm.com; mlw@gdm.com; ckw@gdm.com
        Ryan R. Atkinson rra@ask-law.com
        Mark Bradley Blackburn mblackburn@erskine-blackburn.com
        Jayson E. Blake jeb@millerlawpc.com; asl@millerlawpc.com; cbc@millerlawpc.com;
        jns@millerlawpc.com; sed@millerlawpc.com
        David Z. Chesnoff dzchesnoff@gcklaw.com
        Neal D. Colton ncolton@cozen.com
        Emily H. Cowles ehc@morganandpottinger.com
        Jason W. Crowell jwcrowell@stoel.com; docketclerk@stoel.com
        Stephen J. Defeo sdefeo@brownconnery.com
        Nathan Ray Denney ndenney@cnmlaw.com


                                                  11
Case: 5:06-cv-00243-JMH-REW Doc #: 476 Filed: 06/14/10 Page: 12 of 14 - Page ID#:
                                    6878


       Dennis K. Egan degan@kotzsangster.com
       Blake C. Erskine, Jr. berskine@erskine-blackburn.com; dmarlin@erskine-
       blackburn.com; vflores@erskine-blackburn.com
       Steven C. Forman scformanlaw@comcast.net
       Earl M. Forte forte@blankrome.com
       Eric D. Freed efreed@cozen.com; ncolton@cozen.com; mmerola@cozen.com
       Joseph M. Garemore jgaremore@brownconnery.com
       Michael Joseph Gartland mgartland@dlgfirm.com; dlgecf@dlgfirm.com;
       dlgecfs@gmail.com
       James Douglas Gilson jgilson@cnmlaw.com
       Ronald L. Green rgreen@bsglex.com; dhobson@bsglex.com; acook@bsglex.com;
       cfitch@bsglex.com
       John W. Hays jwhays@jacksonkelly.com; tslangham@jacksonkelly.com
       Nancy L. Hendrickson nancy@hendricksonlawfirm.com
       George Edward Henry, II geh@hwgsg.com
       Robin Luce Herrmann luce-herrmann@butzel.com
       Gloria S. Hong gshong@stoel.com
       Barry D. Hunter bhunter@fbtlaw.com; ahorger@fbtlaw.com; plobel@fbtlaw.com;
       whockensmith@fbtlaw.com
       Richard J. Idell richard.idell@idellseitel.com; courts@idellseitel.com
       John G. Irvin, Jr. jirvin@ksattorneys.com
       Brent E. Johnson bjohnson@hollandhart.com; kbkurtz@hollandhart.com
       Brian M. Johnson bmj@gdm.com; ejk@gdm.com; ckw@gdm.com
       Terry E. Johnson tjohnson@pjmlaw.com
       Jonathan F. Jorissen jorissen@butzel.com
       Jeremy T. Kamras jkamras@howardrice.com; nprince@howardrice.com;
       jcaruso@howardrice.com
       Ellen Arvin Kennedy federaldistricteky@fowlerlaw.com;
       fmbfederaldistrict@gmail.com
       Benjamin Samuel Klehr bklehr@cozen.com
       George J. Krueger krueger@blankrome.com
       Matthew L. Lalli mlalli@swlaw.com
       Janet Knauss Larsen larja@fosterpdx.com; decks@fosterpdx.com
       John E. Lucian lucian@blankrome.com
       Kara Read Marino kmarino@hwgsg.com
       Romaine C. Marshall rcmarshall@hollandhart.com; lcpaul@hollandhart.com;
       slclitdocket@hollandhart.com; intaketeam@hollandhart.com
       Steven M. McCauley smccauley@mis.net
       Taft A. McKinstry federaldistricteky@fowlerlaw.com; fmbfederaldistrict@gmail.com
       Charles C. Mihalek cmihalek@mis.net
       John O'Neill Morgan, Jr. court@johnomorganjr.com; john@johnomorganjr.com;
       johnmorgan@gmail.com
       Marc L. Newman mln@millerlawpc.com
       Elizabeth E. Nicholas eenicholas@jacksonkelly.com
       Medrith Lee Norman mnorman@fbtlaw.com; plobel@fbtlaw.com
       David H. Oermann oermann@brrlawyers.com



                                           12
Case: 5:06-cv-00243-JMH-REW Doc #: 476 Filed: 06/14/10 Page: 13 of 14 - Page ID#:
                                    6879


        David Andrew Owen dao@gdm.com; ejk@gdm.com; ckw@gdm.com; abc@gdm.com
        Pamela Dae Perlman pdperlman@hotmail.com
        C. Randall Raine crr@hwgsg.com
        Elizabeth Juliana Rest elizabeth.rest@idellseitel.com; erest@idellseitel.com
        Ronald E. Reynolds ron@brrlawyers.com; julie@brrlawyers.com;
        kathy@brrlawyers.com; oermann@brrlawyers.com
        Catherine L. Sakach csakach@duanemorris.com
        Ory Sandel ory.sandel@idellseitel.com
        Richard A. Schonfeld rreyes@cslawoffice.net
        David W. Scofield dws@psplawyers.com
        Gilbert Ross Serota gserota@howardrice.com
        J. Ronald Sim jrsim@stoel.com; jalorton@stoel.com; sea_docket@stoel.com;
        gshong@stoel.com
        Jana M. Smoot White federaldistricteky@fowlerlaw.com;
        fmbfederaldistrict@gmail.com
        David A. Sorensen dsorensen@hinshawlaw.com
        Jeffrey Alan Springer jspringer@springer-and-steinberg.com; zjobe@springer-and-
        steinberg.com
        Marvin E. Sprouse msprouse@jw.com, kgradney@jw.com, lbales@jw.com
        Matthew A. Stinnett mas2@gdm.com; ckw@gdm.com
        James T. Strawley strawley@blankrome.com
        Paul E. Sullivan psullivan@fbtlaw.com
        David P. Thatcher david.thatcher@ogletreedeakins.com;
        kristy.burroughs@ogletreedeakins.com
        Kyle C. Thompson kthompson@sywlaw.com; ksedell@sywlaw.com
        Amanda Lee Tomlin atomlin@bsglex.com
        Ahndrea R. Van Den Elzen arv@pjmlaw.com
        Robert C. Webb bwebb@fbtlaw.com; jdodson@fbtlaw.com; jraley@fbtlaw.com
        Mickey T. Webster mwebster@wyattfirm.com; hdabney@wyattfirm.com;
        rhobson@wyattfirm.com; jross@wyattfirm.com; smcintyre@wyattfirm.com
        T. Scott White tsw@morganandpottinger.com
        Kenneth W. Yeates kyeates@sywlaw.com; ksedell@sywlaw.com

        I further certify that the same day I caused to be mailed the foregoing document by first
 class mail to the following non-CM/ECF participants:

        National Equine Lending Company,               Thomas Williams
        LLC                                            90 Baker Lane
        New NEL, LLC                                   Erie, CO 80516-9064
        c/o Terry Green
        563 W. 500 S.
        Suite 230
        Bountiful, UT 84010




                                                13
Case: 5:06-cv-00243-JMH-REW Doc #: 476 Filed: 06/14/10 Page: 14 of 14 - Page ID#:
                                    6880


       Robert Holt                           Gary L. Thornhill
       Elizabeth Holt                        2880 Lakeside Dr
       9110 E. Nichols Avenue                Suite 112
       Suite 100                             Santa Clara, CA 95054
       Englewood, CO 80112



                                    /s/ Jason M. Powers
                                    Jason M. Powers




                                       14
